                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:05CV301-1-MU
                                   3:03CR109-02



ELIJAH JAMES GADDY,                 )
                                    )
            Petitioner,             )
                                    )
            v.                      )                       ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)


       THIS MATTER comes before the Court for an initial review of Petitioner’s Motion to

Vacate, Set Aside, or Correct Sentence, filed, June 23, 2005.

       On April 28, 2004, this Court sentenced Petitioner to concurrent terms of 188 months

imprisonment on Count One and Counts Five through Seven, and to a mandatory minimum

consecutive 60 month term of imprisonment. Judgment was entered on May 7, 2004. Petitioner

did not directly appeal his sentence or conviction.

       On April 28, 2005, Petitioner filed a Motion to Vacate with this Court alleging that he

had received ineffective assistance of counsel because his counsel had failed to honor his request

to file a direct appeal. On May 3, 2005, this Court granted Petitioner’s Motion to Vacate and

reentered his criminal judgment so as to permit him to file a timely direct appeal. Accordingly,

on May 12, 2005, Petitioner filed a Notice of Appeal. However, on May 24, 2005, the Court

entered an Order granting the Government’s Motion to Reconsider; vacating it’s May 3, 2005,

Order; and denying Petitioner’s Motion to Vacate. Petitioner’s case is still pending on appeal



       Case 3:03-cr-00109-RJC          Document 133       Filed 07/07/05      Page 1 of 3
(05-6790).

       On June 23, 2005, Petitioner filed another Motion to Vacate, Set Aside, or Correct

Sentence. Because Petitioner’s case is still pending1 in the United States Court of Appeals for

the Fourth Circuit, Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence is dismissed as

premature.

       THEREFORE, IT IS HEREBY ORDERED that Petitioner’s Motion to Vacate, Set

Aside, or Correct Sentence is DISMISSED without prejudice.




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         Regardless of the context of Petitioner’s appeal – directly appealing his criminal
judgment or appealing the denial of his motion to vacate – it is premature for this Court to rule
on Petitioner’s present Motion to Vacate.

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       Case 3:03-cr-00109-RJC          Document 133        Filed 07/07/05      Page 2 of 3
                         Signed: July 7, 2005




                                  3


Case 3:03-cr-00109-RJC   Document 133      Filed 07/07/05   Page 3 of 3
